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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


RONDABAY LIGGINS-McCOY                        :
                                              :      CIVIL ACTION
                Plaintiff,                    :
                                              :
       v.                                     :      NO. 19-1639
                                              :
DEMOCRATIC CAUCUS OF THE                      :
SENATE OF PENNSYLVANIA                        :      Before the Hon. Petrese B. Tucker
        and                                   :      United States District Judge
ANTHONY H. WILLIAMS                           :
(in his individual capacity only)             :
                                              :
                Defendants.                   :


                  PLAINTIFF’S MOTION FOR RECONSIDERATION


I.     Introduction

       On May 5, 2022, the Court issued its ruling on the motions for summary judgment

filed by each Defendant. ECF No. 77. Plaintiff’s Rehab Act claim against the Democratic

Caucus (“Caucus”) was dismissed, as was her PHRA claim against Defendant Williams in

his individual capacity.1 Plaintiff seeks reconsideration of both rulings for the reasons set

forth below.


II.    Legal Standard

       Local Civil Rule 7.1(g) of the United States District Court for the Eastern District of



       1
           Plaintiff’s FMLA claim against Williams has been permitted to proceed to trial.
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Pennsylvania allows parties to file a motion for reconsideration. The purpose of such a

motion is “to correct manifest errors of law or fact or to present newly discovered evidence.”

Harsco Corp. v. Zlotnicki, 779 F.2d 906, 909 (3d Cir. 1985). A motion for reconsideration

will be granted only upon one of the following grounds: (1) an intervening change in

controlling law; (2) the emergence of new evidence not previously available; or (3) the need

to correct a clear error of law or to prevent a manifest injustice. See General Instrument

Corp. v. Nu-Tek Elecs. & Mfg., 3 F. Supp. 2d 602, 606 (E.D. Pa. 1998), aff’d, 197 F.3d 83

(3d Cir. 1999). Plaintiff relies upon the third ground for reconsideration.


III.   Dismissing Plaintiff’s Rehab Act Claim Against the Caucus Would Be a
       Manifest Injustice

       The Caucus submitted its proposed reply brief in further support of its motion for

summary judgment on November 8, 2021. ECF No. 62. In its reply brief, the Caucus

claimed the exhibits Plaintiff included in her opposition brief showing the Caucus distributed

federal funds should be disregarded because it did not reflect distributing federal funds

during the time applicable to this case. ECF No. 62 at pp. 5-6 (ECF pagination). The Court

ultimately agreed with this contention, determining in its ruling that “the funds in question

were not accepted at the same time that Plaintiff’s alleged disability discrimination

occurred.” See Court Op. at 10. The manifest injustice to Plaintiff is that she had filed a

motion to strike both reply briefs (see ECF No. 63), yet the Court never ruled on the

motion to strike before issuing its ruling on summary judgment. Plaintiff was therefore


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denied the fair chance to submit a sur-reply to whatever reply briefs the Court would allow

Defendants to submit.2 Had Plaintiff received a ruling on the motion to strike, whether it was

granted or denied, she ultimately would have submitted with her proposed sur-reply the

attached evidence showing that the General Assembly distributed federal funds in its 2018-19

budget. See House Appropriations Committee Budget Briefing at pp. 3, 11, 12, 13, 14, 17,

19, 20, 21 (highlighted sections, identifying federal monies included in the enacted 2018-19

budget) (attached hereto as Ex. 1).3

       Given the language of the Rehab Act includes coverage for those entities that

“distribute” federal funds, the Caucus is covered even though Plaintiff has not shown it

receives federal funds for its own purposes. Indeed, the Rehab Act language covers both the

recipient entity and the distributing entity, as the Court noted in its ruling. See Court Op. at

9. To find the Caucus is not covered would be tantamount to giving no consequence to the

term “distribute” in the Rehab Act. The language in Koslow determining that just the

recipient state agency is considered a covered program or entity does not rule out a legislative

caucus from being covered as a distributor of federal funds. Koslow v. Pennsylvania, 302

F.3d 161, 168 (3d Cir. 2002). In other words, under Koslow, the Commonwealth as a whole



       2
           After filing her motion to strike on November 11, 2021, Plaintiff also requested oral
argument on the motion and in her correspondence to the Court dated December 14, 2021 she
specifically pointed out that the Court’s ruling on the motion to strike would affect her subsequent
summary judgment briefing. See ECF No. 68.
       3
            This fiscal year (2018-19) included the time period in which the actions against Plaintiff
occurred.

                                                   3
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did not surrender its immunity by virtue of one state agency receiving federal funds.

Likewise, in this case the Commonwealth as a whole did not surrender its immunity by

distributing federal funds. But the Caucus did by serving as the actual distributor of the

federal funds.

       In short, Plaintiff acted responsibly in promptly moving to strike Defendants’ reply

briefs because they did not comply with this Court’s policies. She acted responsibly in

seeking a Court ruling, and oral argument, on the motion prior to submitting her proposed

sur-reply addressing whatever reply arguments the Caucus would be permitted to make. It

would be a manifest injustice to grant summary judgment to the Caucus by disregarding

simple, publicly-available evidence that Plaintiff would have submitted if given the fair

chance to do so.


III.   Dismissing Plaintiff’s PHRA Claim Against Williams Was a Clear Error of Law

       The Court dismissed Plaintiff’s claim against Williams individually as an aider and

abettor of age discrimination because she did not name the Caucus as a defendant. Williams’

reply brief - which Plaintiff had sought to strike4 - addressed this point extensively. See ECF

No. 61 at 12-14. The applicable section of the PHRA declares it unlawful:

           For any person, employer, employment agency, labor organization or
           employe, to aid, abet, incite, compel or coerce the doing of any act declared

       4
         Williams’ reply brief was 25 pages in length. See ECF No. 61. The Court’s policies and
procedures allow a maximum of 8 pages. Accordingly, Plaintiff had fair reason to move for it to be
stricken and to anticipate a Court ruling, after which she could submit a proposed sur-reply
addressing whatever reply arguments the Court permitted Williams to submit.

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        by this section to be an unlawful discriminatory practice, or to obstruct or
        prevent any person from complying with the provisions of this act or any
        order issued thereunder, or to attempt, directly or indirectly, to commit any
        act declared by this section to be an unlawful discriminatory practice.

        43 P.S. § 955(e).

       Plaintiff readily acknowledges that for the purposes of aiding and abetting liability

under the PHRA, she must establish a “primary violation” by the Caucus. Cf. Elmarakaby

v. Wyeth Pharms., Inc., 2015 U.S. Dist. LEXIS 41300 at *25, 2015 WL 1456686 (E.D. Pa.

Mar. 30, 2015) (“Individual defendants cannot . . . be liable for violations of [§] 955(e) if

there is no primary violation of the PHRA.”); Kaniuka v. Good Shepherd Home, 2006 U.S.

Dist. LEXIS 57403, 2006 WL 2380387, at *10 (E.D. Pa. Aug. 15, 2006) (same). But it does

not necessarily follow that a plaintiff has to include the employer as a defendant also. None

of the cases Williams cites stands for that proposition. And there’s no apparent or logical

reason as to why a plaintiff would have to do so, and the statute does not require it. As part

of a plaintiff’s case against the individual, a plaintiff would submit to a jury proof of the

employer’s illegal discrimination and how the individual aided and abetted it. It is long

established that a plaintiff is the “master of her complaint,” and she is entitled to limit her

claims and select the defendants. McDonald v. Pennsylvania State Police, 2012 U.S. Dist.

LEXIS 155725, 2012 WL 5381403, at *14 (W.D. Pa. Oct. 31, 2012), aff’d, 532 F. App’x 176

(3d Cir. 2013) (citations omitted); see also Bedel v. Thompson, 103 F.R.D. 78, 81 (S.D.

Ohio 1984) (“A plaintiff is under no requirement to join all parties who might be jointly and



                                              5
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severally liable.”) (citations omitted)).5

         Because Plaintiff would have raised this cogent counter-argument had she been given

the chance in her sur-reply, summary judgment in favor of Williams on the PHRA account

would have been properly denied.


IV.      Conclusion

         The Rehab Act claim against the Caucus and the PHRA claim against Williams should

not have been dismissed. Because doing so constituted a manifest injustice under the

circumstances and reflected a clear error of law, Plaintiff’s motion for reconsideration should

be GRANTED. A proposed order follows.



                                             Respectfully submitted,

                                             WEINSTEIN LAW FIRM, LLC

                                     By:     /s/ Marc E. Weinstein
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                                             marc@meweinsteinlaw.com
                                             Counsel to Plaintiff


Dated:           May 19, 2022


         5
         Parenthetically, Williams could have added the Caucus as a third-party defendant should
he have chosen to so. See Fed. R. Civ. P. 14. Or he could have sought to require joinder of the
Caucus as a party-defendant pursuant to Fed. R. Civ. P. 19. He did not.

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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RONDABAY LIGGINS-McCOY                 :
                                       :      CIVIL ACTION
            Plaintiff,                 :
                                       :
      v.                               :      NO. 19-1639
                                       :
DEMOCRATIC CAUCUS OF THE               :
SENATE OF PENNSYLVANIA                 :
        and                            :
ANTHONY H. WILLIAMS                    :
(in his individual capacity only)      :
                                       :
            Defendants.                :

                                      ORDER

      AND NOW, this ____ day of _____________, 2022, upon consideration of Plaintiff’s

motion for reconsideration, it is hereby ORDERED that the motion is GRANTED.

      It is hereby further ORDERED that the Court’s order dated May 5, 2022 granting

summary judgment to the Democratic Caucus on Plaintiff’s Rehab Act claim is VACATED

and the Democratic Caucus’ motion for summary judgment is DENIED.

      It is hereby further ORDERED that the Court’s order dated May 5, 2022 granting

summary judgment to Anthony H. Williams on Plaintiff’s PHRA claim is VACATED and

Williams’ motion for summary judgment as to the PHRA claim is DENIED.


                                       BY THE COURT:

                                       _________________________________
                                       Hon. Petrese B. Tucker
                                       United States District Judge
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                             CERTIFICATE OF SERVICE

       I, Marc E. Weinstein hereby certify that on the 19th day of May, 2022, I caused the

foregoing document to be filed via ECF and that Defendants’ attorneys are filing users under

the ECF system. Upon the electronic filing of a pleading or other document, the ECF system

will automatically generate and send a Notice of Electronic Filing to all filing users

associated with this case. Electronic service by the Court of the Notice of Electronic Filing

constitutes service of the filed document and no additional service upon the filing user is

required.



                                   By:    /s/ Marc E. Weinstein
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                                          Counsel to Plaintiff
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                                                                                                                                                                           EX.-1



                                    2018/19 Budget – In Depth Analysis
                                                                          Updated – 8/23/18

   Components of 2018/19 Budget Package
   For the first time since 1999, a package of budget-related legislation became law well in advance of the start of a new
   fiscal year.
   The 2018/19 package includes the “housekeeping” appropriations for agencies (PUC, Gaming Control Board, small
   business advocate, SERS and PSERS, etc.), as well as the non-preferred appropriations to charitable or educational
   institutions not under the absolute control of the commonwealth.
   The 2018/19 budget includes the following Acts, all signed June 22 by Gov. Wolf:
         • General Appropriations (Act 1A/HB 2121)
         • “Housekeeping” Appropriations (Acts 2A-10A/HBs 2078-2086)
         • Non-Preferred Appropriations (Acts 11A-15A/HBs 2242-2246)
         • Fiscal Code (Act 42/HB 1929)
         • Human Services Code (Act 40/HB 1677)
         • Public School Code (Act 39/HB 1448)
               o School Safety Bill (Act 44/SB 1142)
   The 2018/19 budget package does not include changes to the Administrative Code and only contains a limited change
   to the tax code. Additionally, a capital budget was not included, which is required by the Pennsylvania Constitution
   to be adopted “each ensuing fiscal year.”




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Total Spending and Revenue Estimates
Total state General Fund expenditures in the General Appropriations Act are $32.7 billion and estimated net General
revenues available in 2018/19 are expected to be slightly higher than $32.7 Billion, yielding a projected positive ending
balance. The spending increase is almost $719 million, or 2.2 percent, more than 2017/18 (after accounting for
supplemental appropriations in 2017/18).
The state General Fund official revenue estimate certified by the budget and revenue secretaries is almost $34.0 billion,
which is the amount of state General Fund tax and non-tax revenue expected to be collected in 2018/19 before adjusting
for refunds, prior-year lapses and other changes. According to Independent Fiscal Office estimates, growth in state General
Fund tax revenue is expected to be more than $1.2 billion, or 4.0 percent, from 2017/18 to 2018/19.
The revenue estimates contain no tax increases. Although the governor’s Executive Budget proposed a severance tax to
raise $248.7 million, this spending plan does not rely on a severance tax, nor does it assume the governor’s proposal to
implement mandatory combined reporting for corporate net income taxes (closing the Delaware loophole). The
governor’s proposal would have reduced the CNI rate over several years.



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The only tax code provision that passed as part of the budget package is a change to the corporate net income tax
concerning the treatment of bonus depreciation to respond to federal changes made in the Tax Cut and Jobs Act of 2017.
See the section on “Bonus Depreciation,” following, for more detail.
Focus is customarily placed on General Fund state expenditures and revenues but a reminder is in order that state
expenditures from the General Fund represent roughly two-fifths of Pennsylvania’s combined operating budget. Federal
money also supports General Fund expenditures and contributes to many other special funds. This Budget Briefing
highlights certain special funds that support commonwealth programs when that is especially helpful to a more complete
understanding of the budget picture. A few key examples of special funds that contribute to the combined budget include:
    •   the Motor License Fund (transportation),
    •   the Lottery Fund (senior citizens),
    •   the Tobacco Settlement Fund (human services),
    •   the Oil and Gas Lease Fund (environment).
Significant one-time revenue is expected from gaming licenses for interactive gaming (iGaming) and sports wagering.
The administration’s official estimate assumes $170 million in non-recurring revenue from gaming license fees ($100
million from iGaming and $70 million from sports wagering). Additionally, the official estimate assumes $11.2 million from
the sports wagering tax. This tax revenue, which is recurring, represents a partial year and will likely grow in subsequent
years. Gaming revenues are a result of the expanded gaming provisions passed in Act 42 of 2017.
Although the 2018/19 budget contains no new sources of recurring revenue, Gov. Wolf and the General Assembly enacted
sources or recurring revenue during the past few years to help stabilize the commonwealth’s fiscal situation. The “Long-
Term Recurring Revenue Highlights” table shows recently enacted recurring revenue and the estimates associated with
the first full year of revenue expected at the time of enactment. Therefore, these annualized estimates are included in
the 2018/19 official revenue estimate and total about $900 million. Most of these sources have grown and will continue
to grow in the future, although the cigarette tax revenue declines this year.

                                 Long-Term Recurring Revenue Highlights
                                              (Amounts in Millions of Dollars)

                                                                                          Full Year Recurring
                                              Tax Type
                                                                                                Revenue
           Cigarette Tax Rate Increase of $1.00 per Pack                                   $           446.6
           Other Tobacco Products                                                          $             81.9
           Liquor Modernization - Recurring Revenue Portion Only                           $             75.8
           Sales and Use Tax Vendor Discount                                               $             69.2
           Digital Downloads and Streaming Video and Audio                                 $             59.2
           Sales and Use Tax - Online Marketplace                                          $             50.5
           Bank Shares Tax Rate Increase                                                   $             24.8
           Revenue Maximization - Non-resident Withholding                                 $             24.6
           E-Cigarettes - 40% of Wholesale Price                                           $             21.3
           Personal Income Tax on Lottery Winnings                                         $             13.6
           Sports Wagering Tax                                                             $             11.2
           Revenue Maximization - Appeals Period, from 90 days to 60 days                  $             10.0
           Fireworks Tax at 12%                                                            $              8.7
           Total Annualized Collections                                                    $            897.4

Note: Estimates based on information provided by the Department of Revenue and the Office of the Budget. This is a list
of only the recurring revenue enacted and does not include all tax changes or offsets from tax credits enacted.



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While this year’s budget is balanced, the continued practice of using one-time revenues, timing shifts and other temporary
savings, reductions and offsets creates budget pressures in the years to come. The unwillingness of Republican majorities
to fully address recurring costs with recurring revenues, like a severance tax on natural gas, means that policymakers need
to be aware of short term measures underlying the budget. Despite making progress, future budgets will need to address
the consequences that may arise from the following:


                       General Fund Budget Balancing Measures to Monitor
                                        (Amounts i n Mi l l i ons of Dol l a rs )


           EXPENDITURES                                                                                  2018/19
           General Fund Expenditures Shifted to Special Funds                                                 $54.9
            Increase in MA expenditures funded through Lottery Fund (compared to
            revised 17/18)                                                                                    $54.9
           Temporary or One-Time Budget Savings                                                             $1,210.5
            MA expenditures funded with one-time revenue received March 2017 from
            Managed Care Organization Gross Receipts Tax                                                     $351.7
            MA savings from changes to the payment schedule for managed care
            organizations                                                                                    $120.0
            MA savings from one-time revenues pursuant to Tobacco Master Settlement
            Agreement lawsuit                                                                                $357.0
            Department of Human Services expenses funded with one-time surplus from
            assessment on Philadelphia hospitals                                                              $54.0
            Authority Rentals & Sinking Fund Requirements (PlanCon) reliance on bond                         $215.4
            Use of PHEAA resources to reduce General Fund expenditures on higher
            education - this multi-year support will need to be suspended in 2019/20                         $112.4
                                                                     Subtotal Expenditures                  $1,265.4
           REVENUES
           Transfers to General Fund                                                                              $34.4
            Miscellaneous reveneus and loan repayments to the General Fund                                       $34.4
           One-Time Revenue Sources                                                                              $173.8
            Gaming Expansion (Act 43) - Interactive gaming (iGaming) license fees at $10
            per license                                                                                      $100.0
            Gaming Expansion (Act 43) - Interactive gaming (iGaming) license fees at
            airports                                                                                              $3.8
            Gaming Expansion (Act 43) - Sports wagering license fees at $10 million per
            license                                                                                              $70.0
                                                                         Subtotal Revenues                       $208.2
                                                                                             TOTAL         $1,473.6
           *This chart does not account for additional fund transfers that may occur pending the resolution of
           outstanding court cases.


Rainy Day Fund
A key provision of Gov. Wolf’s budget proposal was to renew a commitment to begin rebuilding the rainy day fund. This
fund is intended to mitigate the impact of economic downturns on budgets. The budget package assumes a transfer to
the Rainy Day Fund for the first time in a decade. For 2017/18, the governor will transfer 50 percent of the fiscal-year-end
General Fund surplus, twice the percentage required under statute in recent years.


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The Great Recession left the rainy day fund mostly depleted, and it has sat useless since then. The General Assembly used
$755 million from the Rainy Day Fund to help balance the budget in 2009. After that, budget-related legislation has either
suspended the required transfer from surplus funds or there was no surplus available. While the transferred amount is
not enough to get the commonwealth through a major economic crisis, it is a significant first step.

Bonus Depreciation
Bonus depreciation is a mechanism used by the federal government to try to spur business investment. However, this
early deduction decreases tax revenues for states coupled to the federal tax code in the short-term.
When corporations buy new property they, normally, depreciate it gradually over the item’s useful life for accounting
purposes. When the federal government allows corporations (that pay the corporate income tax) to depreciate assets
earlier than the normal schedule, this is called bonus depreciation.
Pennsylvania chose to separate itself from provisions in the federal tax code that tied it to bonus depreciation and clarified
state law on the topic this year.
As part of the 2018/19 budget package, the General Assembly changed how business depreciation deductions are handled
(Act 72 of 2018). Businesses may now claim a depreciation deduction evenly over the life of the property.
The official fiscal notes prepared by House and Senate Republicans estimate a revenue loss of $8.2 million in 2017/18 and
$19.3 million in 2018/19. As it is with all other bonus depreciation changes, Act 72 is revenue neutral in the long-term.

Education
K-12
The 2018/19 budget builds upon the education investments in Gov. Wolf’s first three budgets. As articulated in the June
2018 PASBO – PASA School District Budget Report, these investments are necessary as school districts are continually
struggling to keep pace with rising costs associated with charter school, special education, health care, and repaying old
debt that piled up after past General Assemblies borrowed from teachers’ pensions to balance budgets.

                                                                   Increase in 2018/19            Increase Over 4-years
     Pre-K-12 Education Investments under Gov. Wolf
                                                                  Dollar         Percent          Dollar        Percent
Basic Education Funding (includes Ready to Learn)               $118 million           1.9%     $633 million         11.0%
Special Education Funding                                        $15 million           1.3%      $90 million          8.6%
Early Childhood Education                                        $25 million          11.0%     $115 million         84.3%
Early Intervention                                               $22 million           8.2%      $48 million         20.2%
Career and Technical Education (includes PA Smart)               $30 million          48.4%      $30 million         48.4%

Ensuring that the basic and special education funds are fairly distributed to school districts is as important as increasing
the state funding.
The formula recommended by the Basic Education Funding Commission has been in use since 2015/16. Each school district
is held-harmless to its 2014/15 level of funding (with some adjustments), and the new funding above the 2014/15 level is
distributed using a formula that takes into account specific student- and district-based factors. In 2018/19, $539 million,
or 8.8 percent, of the basic education funding appropriation will be distributed using the formula compared to just 2.7
percent in 2015/16.




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                      Amounts in Millions of Dollars                      2014/151 2015/162 2016/17 2017/183 2018/194
                      Total BEF Appropriation                                5,530    5,695    5,895   5,995    6,095
                      Base Allocation Amount                                 5,528    5,543    5,543   5,542    5,556
                      Fair Funding Formula Amount                                -      152      352     453      539
                      % through formula                                       0.0%     2.7%     6.0%    7.6%     8.8%
                      1
                          Base amount reflects SD share, which was less than the total amount appropriated.
                      1
                          Includes Basic Education Formula Enhancements appropriation.
                      2
                          Base amount increased for Chester-Upland SD and Wilkinsburg SD in the School Code.
                      3
                          Base amount changed based on prior year recalculations and audits.
                      4
                          Base amount increased for Erie SD in the Fiscal Code.

Similar to the basic education formula, the special education funding formula holds school districts harmless to the
2013/14 level of funding, and the new funding above that level is allocated using a formula that distributes funds based
on tiers of costs rather than average cost. The tiers depend on the level of cost of the specially designed instruction or
services. In 2018/19, $103 million, or 9.8 percent, of the $1.05 billion special education funds distributed to school districts
will be allocated using the special education funding formula.
The investments made in early childhood education provide a foundation for social and academic success. The 2018/19
budget provides a $25 million increase between Pre-K Counts and Head Start Supplemental Assistance that will fund 2,772
more state-funded slots for high-quality pre-kindergarten. The number of state-funded slots has increased by nearly 50
percent over the past four years.
Gov. Wolf's first term prioritized investing in high quality early   Actual     Actual     Actual     Available   Enacted    FY18-19 Less FY17-18 FY18-19 Less FY14-15
                      learning programs.                             FY14-15    FY15-16    FY16-17    FY17-18     FY18-19       Δ         %Δ          Δ         %Δ
                           Funding Level                              $97.3 M $122.3 M $147.3 M $172.3 M $192.3 M             $20.0 M      11.6%    $95.0 M      97.7%
      Pre-K Counts
                           Estimated # of State-Funded Students        13,456     18,133     18,249     21,350      23,657       2,307     10.8%     10,201      75.8%
Head Start Supplemental Funding Level                                 $39.2 M   $44.2 M    $49.2 M     $54.2 M    $59.2 M       $5.0 M      9.2%    $20.0 M      51.0%
      Assistance        Estimated # of State-Funded Students            4,781      5,728      5,703       5,640      6,105          465     8.2%      1,324      27.7%
    Early Childhood        Funding Level                             $136.5 M $166.5 M $196.5 M $226.5 M $251.5 M             $25.0 M      11.0% $115.0 M        84.3%
  Education Subtotal:      Estimated # of State-Funded Students        18,237     23,861     23,952     26,990      29,762       2,772     10.3%     11,525      63.2%
Source: HACD analysis of Governor's Executive Budget 2018-2019, page E13-18


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Going forward, there is a need to continue investing in education. The PASBO-PASA survey said 77 percent of school
districts are planning to increase property taxes in 2018/19. PDE’s Annual Financial Reports say the state share of school
funding was 37 percent in 2016/17. This ranks PA 46th among states, according to the U.S. Census’ “Annual Survey of
School System Finances” data from 2016.
Inadequate state support for education shifts the financial burden to local property taxpayers and increases the
inequitable spending between school districts. One study ranked PA as the state with the widest per-student spending
gap between wealthy and poor school districts.
Educational Tax Credits
In 2018/19, the percentage increase in basic education funding and the Ready to Learn Block Grant was 1.9, but the
Educational Improvement Tax Credit cap is increasing 10 times more, from $135 million to $160 million.




The entire $25 million increase is for tax credits for contributions from businesses to scholarship organizations. The EITC
caps for educational improvement organizations and pre-kindergarten scholarship organizations remain level.
School Safety
The General Assembly and the governor made school safety a priority in 2018/19. Act 44 (SB 1142) established the School
Safety and Security Committee in PCCD to, as one of its duties, annually award grants to school entities from the School
Safety and Security Fund ($60 million will be available for 2018/19 from various fiscal code transfers).
Schools may use these grants for a wide range of security-related programs, including trauma-informed approaches to
education, safety and security assessments, purchase of security-related technology, and districtwide emergency
preparedness plans. Also, the committee may direct no more than 12.5 percent of the funds for programs to reduce
community violence.
Additionally, Act 44 requires the Pennsylvania State Police to establish risk and vulnerability assessment teams, in
consultation with the committee that will conduct assessments at schools to identify critical safety and security needs.
Low-income districts will be prioritized under Act 44.
Act 44 formulated the “Safe2Say” anonymous school safety tip line, which the attorney general will administer with the
help of $600,000 included in the 2018/19 budget. The budget increased funding for PDE’s Office of Safe Schools by $1.5
million. These funds will be available to be distributed through the Office of Safe School’s existing grant program.




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Act 44 changed the balance of the grants from 60 percent for school resource/police officers to 75 percent.
Correspondingly, the limit on OSS’s grants for program and equipment is reduced from 40 percent to 25 percent. This
change helps to lessen the overlap between the grant programs of the Office of School Safety and the new School Safety
and Security Committee.




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PA Smart
Gov. Wolf secured $40 million for his PA Smart initiative in the 2018/19 budget, which includes a $10 million increase for
career and technical education and $30 million in grants that the PA Workforce Development Board will recommend to
distribute to support current and emerging workforce needs.




PlanCon
There is no funding for new PlanCon projects in the 2018/19 budget. The 2018/19 school code (HB 1448) extended the
moratorium on new school building projects entering the PlanCon process through 2018/19.
The moratorium has been in place since May 15, 2016. However, the 2017/18 school code, which extended the
moratorium through 2017/18, did not become law until Nov. 6, 2017. The 2018/19 fiscal code (HB 1929) clarifies that
applications received in the window from July 1, 2017, to Nov. 6, 2017, are eligible for PlanCon reimbursement (PDE
records indicate 33 applications were received in that timeframe).
At the start of the current moratorium, the commonwealth had a roughly $5.3 billion obligation for projects already in the
PlanCon pipeline. The annual “authority rentals and sinking fund requirements” appropriation had not been keeping pace
with the demand of the program; therefore, a significant backlog had developed leading to long delays in school districts
receiving their state reimbursements.

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Today, with the use of bond proceeds authorized by Act 25 of 2016, the backlog of PlanCon projects awaiting
reimbursement from the state is gone. The 2015/16, 2016/17, and 2018/19 budgets did not provide a General Fund
appropriation for PlanCon, and relied instead on bond proceeds (2017/18 had a small General Fund appropriation for
PlanCon).
The funding source for PlanCon legacy projects will have to shift back to the General Fund as Act 25’s $2.5 billion ceiling
for school construction bonds nears.
The debt service on these bond proceeds is paid from a restricted revenue account funded by the state’s sales and use
tax. Additionally, there is an ongoing annual cost of about $10.5 million for charter school lease reimbursements.
The PA Public School Building Construction and Reconstruction Advisory Committee released its recommendations May
23, 2018, regarding how the state’s school building reimbursement program can be improved. These recommendations,
including streamlining the administrative process, providing funding for maintenance and high-efficiency buildings, and
updating and simplifying the reimbursement formula, need to be adopted by the General Assembly before taking effect.

Higher Education
For the first time in many years, several institutions of higher education will receive a 3-percent increase, including
community colleges, the state-related universities, the Thaddeus Stevens College of Technology, and institutional
assistance grants for private colleges and universities. The Pennsylvania State System of Higher Education (PASSHE)
increased by 3.3 percent.

           Funding for Institutions of Higher Education
                                                                                              $      %
           Amounts in Thousands of Dollars                              2017/18    2018/19    Change Change
           Community Colleges                                           232,111    239,074    6,963       3.0%
           Pennsylvania State System of Higher Education                453,108    468,108    15,000      3.3%
           Penn State University (inc. Penn College of Technology)      252,510    260,085    7,575       3.0%
           University of Pittsburgh                                     146,973    151,382    4,409       3.0%
           Temple University                                            150,586    155,104    4,518       3.0%
           Lincoln University                                           14,436     14,869     433         3.0%
           Thaddeus Stevens College of Technology                       14,273     14,701     428         3.0%
           Institutional Assistance Grants                              25,749     26,521     772         3.0%


Overall, the final budget provided $25 million more for operating support for institutions of higher education than Gov.
Wolf’s executive budget presented in February.
For community college capital funding, the enacted budget maintains level funding. The executive budget recommended
a $1.8 million increase.
The appropriation for PHEAA grants is level-funded at $273 million. Separately from the General Appropriations Act, the
PHEAA board authorized $101 million from business earnings to augment the grant program and allow the appropriation
to remain flat and hold the maximum state grant award constant for the 2018/19 academic year.
PHEAA projects increased costs for the upcoming year, in part, due to passage of Act 5 of 2018 which incorporates distance
education students into the state grant program and application changes that made it easier to apply for a grant, increasing
the number eligible applicants. In response, the board increased its contribution, continued to spend down its reserves
and used its authority to limit program costs for distance education.



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While this combination of flat appropriations and increased PHEAA resources will get the program through 2018/19, the
PHEAA board indicated in June 2018 that the agency will need to suspend direct cash contributions for 2019/20 due to
changing business dynamics. Beyond the $101 million used for student grants, PHEAA funds also support the PA-TIP
program for certificate programs shorter than two years ($6 million), the Cheyney Keystone Academy ($0.5 million) and
the Primary Health Care Practitioner Loan Forgiveness program ($4.6 million), for a total of $112.4 million.
If the General Assembly wants to maintain the current level of support and services for student aid programs (should
PHEAA lose its ability to contribute additional funds), a substantial increase in appropriations will be required in 2019/20.

Pensions
The 2018/19 budget fully pays both state pension systems’ estimated annual required contributions, or ARC, which is the
second time this has happened in 17 years for the State Employees’ Retirement System (SERS) and the third time in as
many years for the Public School Employees’ Retirement System (PSERS).
Each system’s respective increase reflects the multi-year and predictable adjustments in employer funding to pay down
the state’s unfunded pension liability debt pursuant to the funding schedule under the Act 120 reforms of 2010 and
continued with Act 5 of 2017.
While the contribution amounts increased, the magnitude of the increases is beginning to rapidly diminish as more of the
contributions pay down the debt (e.g., 75 percent of PSERS’ and 85 percent of the SERS employer contribution goes to the
pension debt).
For the annually required employer contribution made to PSERS’, the 2018/19 budget includes $2.49 billion in state
General Funds, which is an increase of $224 million, or 9.9 percent, from 2017/18 compared with the highest increase of
49 percent in 2015/16. For the third time in 17 years, the employer contribution made by the state is providing 100 percent
of the estimated actuarially required contribution.
The 2018/19 budget reduces the commonwealth’s state-share appropriation for the employer contribution to PSERS by
$24.5 million, or 1 percent, compared with the system’s most recent ARC estimate. This difference reflects varying payroll
growth assumptions. The commonwealth failed to make its full employer contribution to PSERS for more than 15 years,
however the state corrected itself two years ago and began making full ARC payments. We will closely follow the
appropriation throughout the year to determine if the reduction will place the commonwealth at risk of not making its
ARC.
SERS’ annually required employer contribution is allocated throughout every appropriation that includes personnel
expenditures. Across the multitude of appropriations from a variety of state and federal funding sources, the 2018/19
budget includes roughly $685 million in state General Funds for offices under the governor’s jurisdiction, which is about
$12 million, or 2 percent, more than 2017/18 compared with the highest increase of 54 percent in 2011/12. For the second
time in 17 years, the state’s employer contribution will provide 100 percent of the estimated actuarially required
contribution.
The retirement systems are authorized to spend $82.4 million for administration expenses via Act 6A of 2018 ($51.6 million
for PSERS) and Act 7A of 2018 ($30.8 million for SERS). However, these measures do not include additional funding to
implement the provisions of the new retirement plan design for future employees as directed by Act 5.
Act 5 requires new employees to select one of three new retirement plan design options, effective Jan. 1, 2019, for SERS
and July 1, 2019, for PSERS. Both systems require start-up funding for personnel and operations to implement the
provisions of the new law. The Internal Revenue Code, however, prohibits funding for the defined contribution (DC)
components of the new plan design to come from the systems’ trust funds (Act 6A and Act 7A for 2018/19). However,
funding for the defined benefit (DB) component is permissible.
To remedy the lack of funding, the Fiscal Code directs $4.9 million in start-up funding to SERS and $4.95 million in start-
up funding to PSERS for personnel and operations needed to implement the provisions of Act 5 just for the DC components
of the plan design.



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Act 5 will drive up costs over the next 10 years and cost $536 million more than under current law. Of this amount, $401
million is borne by the state ($247 million General Fund, $85 million special funds, $69 million other), $66 million is federal,
and $69 million is from school districts. While employer contributions remain relatively high, a large component of the
employer payment is going toward the pension debt, which mostly resulted from 16 years of underfunding in an effort to
balance the state General Fund budget. Additional contributors to the pension debt include not fully pre-funding pension
benefits and the market corrections in 2001-2003 and in 2008. For PSERS (75 percent) and SERS (85 percent) most of the
appropriated payments go toward paying down the unfunded liability.

Health and Human Services
The final budget package still does not include the consolidation of state agencies into a new Department of Health and
Human Services, despite the governor’s scaled back version compared with the prior year proposal. Also, unlike 2017/18,
no language in the 2018/19 budget provides for the transfer of appropriations should the general assembly enact
legislation to merge the departments.

                                     2018/19 State Appropriations in Act 1A of 2018
Fund                                                                                         Drug & Alcohol
                                                     Human Services          Health                                   Aging
Amounts in Thousands of Dollars
                                                                                                Programs
General Fund                                              12,137,374             197,415              46,501                 -
Lottery Fund                                                 308,355                 -                   -               520,196
Tobacco Settlement Fund                                      153,786                 -                   -                   -
Emergency Medical Services Operating Fund                        -                14,075                 -                   -

Health
The Department of Health’s budget reflects several of the priorities outlined by Gov. Wolf in his budget proposal, including
funding for Lyme Disease. This $2.5 million appropriation will support increased education, prevention, and surveillance
activities across the commonwealth.
The budget also includes funding increases in vital statistics to process more birth certificates under the federal ‘Real ID’
law, and additional funds to reestablish several state health care centers.
All of the disease- and research-specific appropriations within the department have been, at a minimum, restored to prior
year levels. Several of these appropriations were increased over 2017/18 with an additional $100,000 for regional cancer
institutes, $250,000 for Amyotrophic Lateral Sclerosis (ALS) support services, and $450,000 for bio-technology research.
The budget also includes a new appropriation for leukemia and lymphoma.
Finally, the Fiscal Code clarifies local registrars’ role in issuing death certificates, and it details the distribution of the $20
fee registrars collect for the service.
Drug and Alcohol Programs
The 2018/19 budget maintains the prior funding increase requested by Gov. Wolf for assistance to drug and alcohol
programs, which provides grants to single county authorities across the state to implement programs to prevent and
address substance abuse.
Outside of the department, the budget includes $4.5 million in new funding to provide home visiting services to
approximately 800 families affected by substance use disorder.
Inclusive of this budget, Gov. Wolf has secured more than $100 million in new state funding to address the heroin and
opioid epidemic over the past four years.




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           New State General Funds Committed to Heroin and Opioid Initiatives under Gov. Wolf
                                                                              2015/16          2016/17          2017/18           2018/19    Four-Year Total
Amounts in Thousands of Dollars                                                Actual           Actual         Available          Enacted   New Investment
Department of Drug and Alcohol Programs (SCAs)*                                   3,500            4,250            3,500             3,500          14,750
Department of Human Services (COEs, CBFC Home Visit)                                -             15,000           19,032            23,532          57,564
Department of Health (ABC-MAP Registry)                                           2,146            3,153            3,023             3,077          11,399
Department of Corrections (MAT Pilot Program)*                                    1,500            1,500            1,500             1,500            6,000
Pennsylvania Commission on Crime & Delinquency                                      -                -              7,000             2,000            9,000
Office of Attorney General                                                          -                -              2,117             1,758            3,875
Total Budgeted Funds                                                              7,146           23,903           36,172            35,367         102,588
*Gov. Wol f reques ted $5 mi l l i on i n a ddi ti ona l fundi ng for the SCAs i n 2015/16, the Genera l As s embl y s pl i t thi s a mount wi th $1.5 M to DOC for
medi ca l l y-a s s i s ted trea tment pi l ot progra m.

Human Services
The 2018/19 budget appropriates $12.1 billion in state General Funds to the Department of Human Services, a $13.7
million decrease from the revised 2017/18 budget that counted a supplemental appropriation increase of $18.3 million.
This relatively modest increase in overall General Fund appropriations to the department compared to previous years
reflects the use of several one-time funding mechanisms, along with other opportunities for savings:
    •     Surplus collections totaling $351.7 million from the now-terminated managed care gross receipts tax provide one-
          time revenue to offset expenditures;
    •     At least $275 million in proceeds from an agreement between the attorney general and tobacco manufacturers
          to settle disputed payments they withheld from Pennsylvania beginning in 2004 related to the Master Settlement
          Agreement;
    •     An additional $163 million to fund expenditures from the department’s increase in the assessment on managed
          care organizations;
    •     One-time savings of $120 million from a change in the timing of monthly payments to a subset of managed care
          organizations that will standardize payment timing across physical and behavioral health regions;
    •     Federal grants for child care services totaling $66 million that reduces the need for state General Fund spending;
    •     The transfer of additional funds pending resolution of outstanding court cases; and
    •     $75 million in state savings from an increase in the statewide hospital assessment. This is less than the $130 million
          initially proposed by the governor (see below).
The enacted budget package includes a reauthorization of
the Statewide Quality Care Assessment - hospital              Year   Assessed Rate       State Share         Increase
assessment – through June 30, 2023. The state portion of           Inpatient Outpatient Amounts in 1,000s Δ from 2018/19
funds generated by this assessment offset state Medical 2018/19 2.98%           1.55%        $295,000          $75,000
Assistance spending and provide supplemental payments
                                                            2019/20 3.32% 1.73%              $295,000          $75,000
to hospitals. In addition to renewing the assessment for
five years, the language changes from a single rate on net- 2020/21 3.32%       1.73%        $295,000          $75,000
patient revenue to a new, bifurcated rate split between 2021/22 3.32%           1.73%        $300,000          $80,000
net- inpatient and net outpatient revenue. The state share 2022/23 3.32%        1.73%        $300,000          $80,000
of the assessment increases to $295 million in 2018/19
through 2020/21 and to $300 million in 2021/22 and 2022/23.
The Human Services Code also requires the department to draft a reconciliation document within 180 days of the close of
the fiscal year to include deposits and payments from the Quality Care Restricted Account, which contains hospital
assessment proceeds. Remaining funds in excess of $10 million are to reduce the rate of the assessment in the subsequent
year or be refunded to hospitals.




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Beyond the renewal of the statewide hospital assessment, the Human Services Code includes the following provisions and
program guidance:
    •   Updates and standardizes language referencing child care;
    •   Requires the Department of Human Services, in cooperation with Education, to implement a pilot program
        providing coordinated delivery of human services alongside educational offerings at a school or schools in
        Philadelphia (modeled after the Harlem Promise Academy, a public-private partnership program in New York City);
    •   Reestablishes provisions related to Medicaid Day-One Incentive payments – totaling $8 million – for non-public
        nursing homes in the Human Services Code, which was in the Fiscal Code in 2017/18;
    •   Directs the department to amend the commonwealth’s state plan to provide nonemergency medical
        transportation services under the Medicaid program through either a regional or statewide brokerage model;
    •   Requires DHS to analyze potentially avoidable events in Medicaid managed care programs and hospitals, and
        develop an outcomes-based reporting system to reduce these events and associated costs. DHS is to provide
        regular reports to the General Assembly regarding the impact of these programs;
    •   Instructs DHS to include information on the LIFE program as an alternative option for eligible individuals moving
        into Community HealthChoices; and
    •   Extends a requirement for child welfare providers to file their costs for providing out-of-home placement services
        to eligible children, allowing DHS to ensure continued federal reimbursement.
There are no work requirements, benefit reductions, or eligibility restrictions included in the budget package.
The budget includes an additional $8 million in the long-term care appropriation to provide for a rate increase to nursing
homes by a statewide average of 1 percent, effective Jan. 1, 2019. This increase does not apply to nursing homes located
within the active Community HealthChoices regions – southeast and southwest.
The 2018/19 budget increases funding across numerous appropriations to expand home- and community-based services
to additional Pennsylvanians, including:
    •   800 additional families confronting substance use disorder;
    •   2,292 additional seniors in the aging waiver;
    •   480 more seniors in the LIFE program;
    •   1,500 additional adults with physical disabilities in the independence waiver;
    •   960 more adults receiving attendant care;
    •   25 individuals currently in state centers to receive home- and community-based services;
    •   40 additional adults with autism spectrum disorders in the autism waiver;
    •   800 graduates from special education receiving employment and community services, along with 800 graduates
        in 2019 receiving immediate services upon graduation; and
    •   100 individuals with intellectual disabilities being removed from the emergency waiting list.

Funding for Community HealthChoices – the department’s Medicaid managed long-term care program to give seniors and
individuals with physical disabilities the opportunity to remain in their homes – is allocated in a new appropriation in the
2018/19 budget, instead of being funded under the long term care (nursing home) appropriation. This move follows the
initial rollout of the program in the southwest region Jan. 1, 2018, and precedes the next phased rollout in the southeast
region – including Philadelphia – beginning Jan. 1, 2019.
The department’s budget also expands access to child care services by including $10 million to take 1,600 children off the
waiting list and a further $10 million to increase reimbursement rates for child care service providers. As noted earlier,
the reduction in state funding reflects the use of new federal funds to pay for services.

Tobacco Settlement Fund
The commonwealth will receive $345.3 million from the Tobacco Master Settlement Agreement (MSA) in 2018/19, a slight
reduction from the $349.4 million it received in 2017/18. Appropriations from the Tobacco Settlement Fund total $351.1
million in the 2018/19 enacted budget, a decrease of $11.2 million from 2017/18. These appropriations fund tobacco use
cessation and health-related research programs, and a number of medical assistance and other health care programs.

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The Fiscal Code (Act 42 of 2018) modifies MSA revenue allocation to various programs, most notably by eliminating the
13-percent allocation for home-and community-based services and increasing the allocation for other health-related
purposes to 43.7 percent – reflecting the ongoing transition from existing MA waivers to the new Community
HealthChoices program. The majority of allocation for other health-related purposes consists of a $132.9 million
appropriation to Community HealthChoices. However, Life Sciences Greenhouses receives $3 million as in 2017/18 and
MA Long-Term Care is getting $20.9 million.
On June 21, 2018, the Office of Attorney General announced it had reached a settlement with tobacco manufacturers
regarding disputed past and future payments under the MSA. Under the terms of the settlement, the commonwealth will
receive approximately $636 million over the next 12 years, including $357 million in 2018/19. Of the funds received in
2018/19, $15.4 million will go to a restricted receipt account for use in the attorney general’s criminal enforcement
activities while the remaining $341.4 million will be available for appropriation to other health-related programs.

                                          Tobacco Settlement Fund
                                                                        2018/19 Enacted Budget
                  Health-Related Programs                             Allocation %    $ Millions
                  Home and Community-Based Services                             0%            0.0
                  Tobacco Use Prevention and Cessation                        4.5%           15.5
                  Health and Related Research (CURE)                         13.6%           47.0
                  Hospital Uncompensated Care                                8.18%           28.2
                  Medical Assistance for Workers with Disabilities             30%          103.6
                  PACEnet Transfer                                              0%            0.0
                  Health-Related Purposes:                                  43.72%
                    Medical Assistance - Long Term Care                                      20.9
                    Life Sciences Greenhouses                                                 3.0
                    Community HealthChoices                                                 132.9
                                       TOTAL                                                351.1

Lottery Fund
After falling into deficit in 2016/17, the Lottery Fund
returned to a positive balance in 2017/18 due to some
appropriations cuts. These cuts were largely directed to
the appropriation for MA Long-Term Care and were
offset by increased appropriations from the General Fund
and other sources.
For 2018/19, a total of $1.26 billion is appropriated for
programs directed to the elderly in Pennsylvania, largely
through the departments of Aging and Human Services.
Revenues to the Lottery Fund are projected to increase in
2018/19 as a result of Act 42 of 2017, which authorized
iLottery and internet instant games.
Compared to 2017/18, the main changes to the Lottery
Fund are to the appropriations for home-and community-
based services and MA Long-Term Care, which are $50.3
million and $102.7 million smaller, respectively. These
reductions are related to the continuing roll out of
Community HealthChoices, which received $153.1
million in appropriations from the 2018/19 budget.


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Overall, appropriations to the Department of Human Services are, essentially, unchanged from 2017/18.
Appropriations to the Department of Aging are reduced by $13.4 million, or 2.6 percent. Funding for Alzheimer’s outreach,
grants to senior centers, and caregiver support are unchanged from 2017/18. The $155 million transfer to the
Pharmaceutical Assistance Fund, which supports the PACE and PACENET programs for seniors, is the same after inclusion
of a supplemental appropriation that brought total spending to $155 million in 2017/18.
Appropriations from the Lottery Fund for PennCARE and pre-admissions assessments are down by $2.3 million and $11.2
million, respectively. While appropriations for the underlying PennCARE program increased by $16.8 million, the
appropriation will experience a net reduction because $26.1 million in costs are being shifted as the Community
HealthChoices rollout continues. The cut to the pre-admission assessment appropriation reflects the transfer of MA
assessments to the long-term care appropriation in the Department of Human Services.
The appropriations for transportation assistance and property tax/rent rebates are unchanged from 2017/18.

Criminal Justice (Dept. of Corrections, PA Board of Probation & Parole)
The budget appropriates $2.54 billion from the General Fund to the Department of Criminal Justice, an increase of $103
million, or 4.2 percent, over the revised available amount for 2017/18. The budget includes:
    •   $2.36 billion for Corrections, a $91.8 million, or 4.1 percent, increase.
            o   This portion includes part of general government operations, as well as state correctional institutions,
                inmate education and training, and inmate medical care.
            o   The largest increases in the department’s budget for 2018/19 are for state correctional institutions ($70.9
                million or 3.7 percent), and inmate medical care ($19.2 million or 7.7 percent), primarily driven by
                personnel and rising healthcare costs, respectively.
    •   $184.6 million provides for parole and represents an $11.1 million, or 6.4 percent, increase.
            o   This portion includes part of general government operations, parole supervision, the Parole Board, related
                offices, and grants to counties for adult probation.
            o   State support for county adult probation is level funded at $16.2 million as in previous years. Grants are
                awarded on a formula basis determined by the number of funding-eligible employees.

                        Department of Criminal Justice, DOC and PBPP funding breakout
                        Amounts in Thousands of Dollars

                                                2017/18       2018/19      $ Change      % Change
                        Corrections             2,264,218     2,356,050       91,832            4.1%
                        Parole                    173,495       184,642       11,147            6.4%
                        Department Total        2,437,713     2,540,692      102,979            4.2%

The General Assembly continues to consider a proposed merger of the Department of Corrections and the Board of
Probation and Parole. For the second consecutive year, the General Appropriations Act makes appropriations to
corrections and parole as a consolidated Department of Criminal Justice. But, as in 2017/18, the new Fiscal Code (Act 42
of 2018) undoes that change in name, stating that all references to the Department of Criminal Justice shall be interpreted
as DOC, PBPP, or both.
The agencies signed a memorandum of understanding Oct. 19, 2017, to allow them to operate under a unified
organizational structure and to share resources. The Wolf administration is still seeking passage of SB522 and SB523 to
complete the merger.



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Although the department’s budget is increasing 4.2 percent, it remains $22.8 million less than two years prior in 2016/17.
The spending reduction carries forward from 2017/18, when the footprint of the state prison system shrank with the
closure of one prison.
Pennsylvania’s state inmate population continues to fall, maintaining an average annual 1.5 percent decrease in recent
years. As of May 31, 2018, the department has jurisdiction over 48,341 inmates and 41,823 parolees.




State Police
The Pennsylvania State Police budget for 2018/19, including anticipated augmentation revenue and federal funds, is $1.31
billion, which is a $67.5 million, or 5.4 percent, increase over 2017/18. The majority of the budget, 82 percent, comes from
the General Fund and the Motor License Fund.
State police will receive General Fund appropriations of $305.6 million, which is a $53.8 million, or 21.4 percent, increase
over the revised available amount for 2017/18.
Motor License Fund appropriations for PSP in the 2018/19 budget total $769.7 million, which is the maximum allowed by
Act 85 of 2016, and represents an $8.7 million, or 1.1 percent, decrease from 2017/18.
As Act 85’s cap on appropriations from the Motor License Fund to PSP drops $32.1 million annually through 2027/28, the
maximum allowable amount for state police in 2019/20 will be $737.6 million.
The 2018/19 budget includes the following for state police:
    •   Sufficient funding for three cadet classes, which is expected to produce 294 new troopers. In the last three years,
        an average of 326 troopers have retired or departed annually. Gov. Wolf initially proposed four cadet classes;
    •   $28.5 million for the second of a four-year initiative to upgrade the statewide public safety radio system, which
        will provide for the infrastructure and mobile radio installation for the P25 system;
            o   Additionally, $14 million in appropriations to other executive agencies will provide radio upgrades for
                other law enforcement and first responders for a total General Fund investment of $49.3 million in
                2018/19.
    •   $6 million within general government operations for body cameras to build out data storage infrastructure to
        expand the use of body cameras across PSP. A state police pilot program began in 2017/18 to equip 30 officers in
        three troops with body cameras;
    •   $8.15 million is appropriated from a restricted account for gun checks by the Pennsylvania Instant Check System
        (PICS). No General Fund appropriations are made for PICS in 2018/19;

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    •   $29.1 million from the State Gaming Fund for gaming enforcement, a 1.9 percent increase; and
    •   $31.9 million from the State Stores Fund for liquor enforcement, a 1.3 percent increase.
The budget does not assume Gov. Wolf’s proposed fee on municipalities that rely on state police for full-time local police
coverage, which was projected to raise $63 million. Instead, the budget increases appropriations for state police’s general
government operations by $50 million over the governor’s executive budget and reduces spending to make up the rest of
the difference.
Even without the new municipality fee, the state police budget increasingly relies on augmentations to support annual
expenditure increases. This budget assumes a $21 million (105 percent) increase in fee revenue for criminal history record
checks following a mid-year rate increase in 2017/18.




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Judiciary
For the third consecutive year, level funding for the Judiciary is maintained in the 2018/19 budget at $355.5 million. Also
as in previous years, $57.05 million is appropriated to the courts from the “Judicial Computer System Augmentation
Account,” a restricted receipt account for fees and surcharges collected by the courts.
The Fiscal Code (Act 42 of 2018) diverts $15 million of fee revenue that would otherwise be deposited into the judicial
computer system account annually beginning in 2018/19. The JCS account supports far-reaching IT infrastructure and
programs, such as the court’s case management system, CPCMS, which is used daily by law enforcement, judicial staff,
and the public.
A long-term funding shift may have an impact on JCS’ capacity to maintain these systems and keep technology up-to-date.
The diverted funds are deposited into the School Safety and Security Fund, which is established in the School Code under
Act 44 of 2018, to provide grants to school districts and communities.

Pennsylvania Commission on Crime and Delinquency
With the exception of its general government operations, PCCD received level funding for all appropriations relative to
2017/18. The GGO appropriation includes funding for Gov. Wolf’s opioid initiatives.
The appropriation decreases by $4.6 million in 2018/19, which reflects the one-time funding included in the prior year’s
budget to equip first responders with Naloxone ($5 million). However, $2 million for grants to establish or expand drug
courts is included for the second consecutive year. Grants totaling $1.53 million were awarded by PCCD to eleven counties
on June 13, 2018, to be paid from the 2018/19 appropriation. Future funding is contingent on approved state General
Fund amounts.
Under Act 44 of 2018, the School Safety and Security Committee is established in PCCD to guide the distribution of a new
funding stream for school and community safety.
In the budget, PCCD also receives a $250,000 appropriation from the Justice Reinvestment Fund for victim services.

Juvenile Court Judge’s Commission
The JCJC receives a 5 percent ($142,000) increase in the 2018/19 budget. Grants for juvenile probation services are level
funded at $18.9 million for the sixth consecutive year.

Emergency Management Agency
General Fund appropriations for PEMA are predominately level funded. A $2 million increase to the agency’s GGO provides
for replacement of radios associated with the P25 upgrade for the statewide public safety radio system.
Funding for the emergency management assistance compact, shown in the printout for 2017/18, is not appropriated in
the GAA. Under statute, up to $15 million in funding to respond to major disasters through the compact is made available
as needed through executive transfers. Similarly, there is no state appropriation for disaster relief in the 2018/19 budget.
Disaster relief funds are used to respond to natural or manmade disasters. State appropriations supplement and provide
necessary matching funds for federal grants. No state disaster relief appropriation was requested in the 2018/19 executive
budget.

Labor and Industry
Two components of Gov. Wolf’s PA Smart initiative under the Department of Labor and Industry are included in the final
budget: $7 million to expand registered apprenticeship programs and an additional $3 million to expand industry
partnerships (elements of PA Smart are covered by the Department of Education). The fiscal code amendments direct the
Pennsylvania Workforce Development Board to distribute both appropriations as grants to support current and emerging
workforce needs.



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Also under the department, assistive technology financing received a $50,000 increase to $450,000. The Pennsylvania
Assistive Technology Foundation runs the commonwealth’s alternative financing program, which helps Pennsylvanians
with disabilities acquire assistive technology devices and services to live more independently.
The budget also continues level funding for the New Choices/New Options program, Centers for Independent Living, and
the assistive technology lending library program.

Executive Offices
The Human Relations Commission received a $1.3 million, or 15.4 percent, increase in the budget, the first major increase
in several years. The Human Relations Commission helps protect Pennsylvanians’ civil rights, investigates complaints of
discrimination or ethnic intimidation under the Human Relations Act, and helps investigate employment and housing
discrimination on behalf of federal agencies. Additional funding will allow the commission to hire more investigatory staff
to more aggressively enforce the act and protect Pennsylvanians from discrimination.

Department of State
While the Department of State’s budget is mostly cost-to-carry for state General Fund appropriations, one notable federal
appropriation, “Federal Election Reform,” is increased significantly in 2018/19. On May 22, 2018, Pennsylvania requested
$13,476,000 in Help America Vote Act, or HAVA, grant funds that Congress included the federal budget. The state will
need to provide $674,000 in matching funds in our 2019/20 budget to meet the March 23, 2020, deadline.
The Department of State can use the funds, or sub-grant to local government units, for the following purposes:
    •   Replacing voting equipment that does not already provide a paper record of voter intent;
    •   Employing a post-election audit system that provides confidently accurate final vote tallies;
    •   Upgrading election-related computer systems to address cyber vulnerabilities;
    •   Facilitating cybersecurity training for the state and local election officials;
    •   Implementing established cybersecurity best practices for election systems; and
    •   Funding other activities that will improve the security of elections for federal office.
The department will publish guidelines on how it intends to use the funds.

Transportation
The 2018/19 budget provides $6.6 billion in state funding for transportation, personnel, and operations. This is an increase
of $328 million, or roughly 5 percent, over 2017/18. Of this amount, $184 million is continuation funding and $144 million
is new.
The new funding includes a one-time investment of $50 million to improve low-traffic state roads, $40 million for rural
commercial routes, $28 million for REAL-ID implementation, $16 million for innovative highway systems technology, and
$10 million for municipal bridge improvements. All amounts are funded by the Motor License Fund.
The Fiscal Code permits PennDOT and the Commonwealth Financing Authority to waive any required local match from a
municipality or the Philadelphia Port Authority for financial assistance grants from the Multimodal Transportation Fund
through the end of 2019. In addition, PennDOT is restricted from using money appropriated for direct mail inserts in its
mailings.

Agriculture - UPDATED
Department of Agriculture’s 2018/19 state General Fund budget of $151.3 million is $7.5 million, or 5.2 percent, more
than 2017/18 and includes $31.8 million for general government operations ($30.8 million in 17/18).




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Counties will receive a similar amount of grants as last year under the State Food Purchase Program (SFPP). Most of that
appropriation funds grants to counties for the wholesale purchase of food at competitive prices. Up to $1 million may be
set aside for the Emergency Food Assistance Development Program, up to $500,000 for distributing Temporary Emergency
Food Assistance Program (TEFAP) commodities to counties, and up to $1.5 million for the Pennsylvania Agricultural
Surplus System (PASS), an increase of $500,000 compared with last year.
To address the Spotted Lanternfly problem, the budget appropriates $15 million in state and
federal funds ($3 million state) to target the invasive insect and help prevent crop destruction.
Grant appropriations for agricultural research, agricultural promotion, hardwoods promotion, and
various agricultural shows are receiving 16.6 percent more in budgetary support.
The Penn State Agriculture Extension is receiving a $1.6 million, or 3 percent, increase in 2018/19, bringing its total
appropriation to $53.9 million. Also, the University of Pennsylvania’s School of Veterinary Medicine and Center for
Infectious Disease are receiving a combined $912,000, or 3 percent, increase, bringing their respective appropriations to
$31 million and $289,000.
Amendments to the fiscal code authorize the following:
    •   The transfer of $19.66 million from the PA Racehorse Development Fund to the Department of Agriculture for the
        Animal Health Commission, the Pennsylvania Veterinary Laboratory System, Pennsylvania Fairs, and a transfer to
        the State Farm Products Show Fund;
    •   The transfer of $10.07 million from the PA Racehorse Development Fund to the State Racing Fund to cover costs
        of enforcement of equine medication rules testing;
    •   At least $250,000 from general government operations, within the Department of Agriculture, to be used for
        Commission of Agricultural Education Excellence to assist in development and implementation of agricultural
        education programming;
    •   The use from Agricultural Research, of $300,000 for an agricultural resource center, and $100,000 for agricultural
        law research programs in conjunction with Penn State;
    •   The use from Agricultural Research, of at least $500,000 for research at an organic research institute located in a
        county of the third class; and
    •   The use of up to $165,000 from the Agricultural Conservation Easement Purchase Fund for the department to
        fund succession planning grants.

Environment
Department of Environmental Protection:
The Department of Environmental Protection’s 2018/19 state General Fund budget of $153.3 million is $6.8 million, or 4.7
percent, more than 2017/18. With the additional funding, the agency may hire 35 additional staff to oversee high-hazard
dams, ensure adequate air monitoring support in areas of natural gas drilling, and review sewage expansion requests. A
number of other DEP state appropriations are maintained at prior year funding amounts or are receiving increases
compared with 2017/18:




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                                       DEP State General Fund Appropriations
                                            (Amounts in Thousands of Dollars)


                                                                Available Budget            Comparison
                                                                 2017/18 2018/19            $∆      %∆
            General Government Operations                           13,309  14,378           1,069   8.03%
            Environmental Program Management                        29,413  30,932           1,519   5.16%
            Chesapeake Bay Agricultural Source Abatement             2,535   2,670             135   5.33%
            Environmental Protection Operations                     89,215  93,190           3,975   4.46%
            Black Fly Control and Research                           3,357   3,357               0   0.00%
            West Nile Virus Control (and Zika)                       5,239   5,378             139   2.65%
            Delaware River Master                                       38      38               0   0.00%
            Susquehanna River Basin Commission                         237     237               0   0.00%
            Interstate Commission on the Potomac River                  23      23               0   0.00%
            Delaware River Basin Commission                            217     217               0   0.00%
            Ohio River Valley Water Sanitation Commission               68      68               0   0.00%
            Chesapeake Bay Commission                                  275     275               0   0.00%
            Transfer to Conservation District Fund                   2,506   2,506               0   0.00%
            Interstate Mining Commission                                15      15               0   0.00%

                                                                   146,447      153,284      6,837       4.67%
Interstate commissions and boards are funded the same as they were in 2017/18. These appropriations cover so-called
“fair share” costs associated with Pennsylvania’s membership in environmental interstate compacts. The Delaware and
Susquehanna river basin commissions are not funded, however, to what constitutes their “fair share.” The shortfall for
the Delaware River Basin Commission is $676,000, while the Susquehanna River Basin Commission fair share difference is
$504,000.
Amendments to the Fiscal Code (Article XVI-N) establish the “Private Dam Financial Assurance Program,” which is a
revolving loan program that delivers financial assurance assistance to owners of regulated private dams through the
Department of Community and Economic Development (in consultation with the Department of Environmental
Protection) to meet proof of financial responsibility requirements promulgated under section 11 of Dam Safety and
Encroachments Act of 1978.

Conservation and Natural Resources
DCNR’s 2018/19 state General Fund budget of $121.3 million is $16 million, or 15.3 percent, more than 2017/18. The
increase in General Fund appropriations for state parks and forests relates to the decrease in the funding transfer from
the Oil and Gas Lease Fund. When factoring in Oil and Gas Lease Fund transfers, DCNR will see an overall increase of 2.2
percent. The following table shows funding by appropriation and source:




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                         DCNR State Parks and State Forest Appropriation Source Comparison
                                           (Amounts in Thousands of Dollars)
                                                     General Fund
                                                        Available     Budget       Comparison
                                                         2017/18      2018/19      $∆      %∆
                 State Park Operations                       51,028        56,185   5,157 10.1%
                 State Forest Operations                     22,664        29,184   6,520 28.8%
                 General Government Operations               20,324        22,063   1,739 8.6%
                 Heritage and Other Parks                     2,875          3,025    150 5.2%
                 State Parks Infrastructure Projects              0          2,500  2,500 0.0%
                 Annual Fixed Charges (aggregated)            8,309          8,336      27 0.3%
                            State General Fund Total        105,200      121,293   16,093 15.3%

                                               Oil and Gas Lease Fund
                 State Parks Operations                      7,739             7,555        -184 -2.4%
                 State Forest Operations                     3,552             4,198         646 18.2%
                 General Operations                         50,000            37,045     -12,955 -25.9%
                        Oil and Gas Lease Fund Total        61,291            48,798     -12,493 -20.4%

                             Combined General Fund & Oil and Gas Lease Fund Total
                 DCNR General Fund & OGLF             166,491       170,091       3,600              2.2%
The fiscal code directs DCNR, in consultation with PennDOT, to:
    •   Develop, open, and maintain an ATV trail connecting the Whiskey Springs ATV trail in northcentral Pennsylvania
        to the Blood Skillet ATV trail. And,
    •   To implement the full northcentral Pennsylvania ATV initiative and create a network of ATV trails connecting
        Clinton County to the New York state border.

Community & Economic Development
The 2018/19 enacted budget did not extensively differ from Gov. Wolf’s proposed budget for DCED. Perhaps the most
significant disparity was the legislature’s inability to restore the $5 million, or 33 percent, 2017/18 cut to PA First. The
enacted $15 million appropriation (instead of $20 million the governor requested) will fund grants for job creation and
retention, infrastructure projects, and the popular workforce development program, WEDNetPA.
The budget also reduces the transfer to the Municipalities Financial Recovery Revolving Loan Fund by $1.5 million, or 61
percent, from 2017/18. This fund offers loans and grants to financially distressed (Act 47) municipalities that otherwise
face the immediate risk of bankruptcy. Prior to the cut, the fund already faced the prospect of insolvency by 2019/20. The
new 61 percent reduction will require close monitoring throughout the year to ensure the $1 million appropriated keeps
the fund solvent.
The Infrastructure and Facilities Improvement Program, or IFIP, is also cut by $2 million, which represents an 11-percent
reduction from 2017/18. The $16 million appropriated in the new budget will still allow for the department to provide IFIP
grants to eligible authorities so they may finance projects that improve manufacturing, industrial, retail, research and
development, hospital, hotel and convention center facilities.
As directed in the fiscal code, DCED’s Keystone Communities and Marketing to Attract Tourists will work in 2018/19 as
they have in the past. These appropriations, and many others that are often eliminated in executive budget proposals,
were increased or restored through negotiations with legislators.




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